 1
                              UNITED STATES DISTRICT COURT
 2
                                EASTERN DISTRICT OF CALIFORNIA
 3

 4    UNITED STATES OF AMERICA,                        CASE NO. 1:07-CR-000156-(4)-LJO
 5                            Plaintiff,
                                                       ORDER SETTING BRIEFING SCHEDULE
 6           v.
 7    KEITH ROSE,
 8                            Defendant.               (ECF NO. 454)
 9

10          On June 24, 2016, the Federal Defender’s Office (“FDO”), on behalf of Petitioner Keith
11   Rose, filed a motion pursuant to Title 28, United States Code, Section 2255 (“Section 2255
12   Motion”), raising issues related to Johnson v. United States, 135 S. Ct. 2551 (2015), and Welch v.
13   United States, 136 S. Ct. 1257 (2016). See ECF No. 454. Accordingly,
14          IT IS HEREBY ORDERED that from the date of the FDO’s filing, the government shall
15   file a response to Petitioner’s Section 2255 Motion within 60 days of the date of this order. From the
16   date of the Government’s filing, the FDO shall have 60 days to file a reply.
17
     IT IS SO ORDERED.
18

19      Dated:     July 27, 2016                           /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
20

21

22

23

24

25

26
27

28
